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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 19-24539-CIV-MORENO/LOUIS

  HAPPY TAX FRANCHISING, LLC, et al.,

         Plaintiffs,

  v.

  JAMEY HILL et al.,

        Defendants.
  ____________________________________/

       ORDER ON PLAINTIFF’S MOTION TO TAKE JURISDICTIONAL DISCOVERY

         THIS CAUSE is before the Court upon Plaintiffs’ Motion to Take Jurisdictional Discovery

  (ECF No. 60). This case was referred to the undersigned United States Magistrate Judge, pursuant

  to 28 U.S.C. § 636(b)(1) and the Magistrate Judge Rules of the Local Rules of the Southern District

  of Florida, by the Honorable Federico A. Moreno, United States District Judge to take all necessary

  and proper action with respect to any and all pretrial matters (ECF No. 15).

         The present Motion was filed in response to Defendant Melissa Salyer’s Motion to Dismiss

  (ECF No. 51), which challenges the bases for this Court to exercise personal jurisdiction over her.

  Plaintiffs filed a response in opposition to the Motion to Dismiss and have separately moved to

  take jurisdictional discovery to challenge the factual averments in the affidavit in support of

  Salyer’s Motion. Plaintiff seeks forty-five days within which to take discovery and ten days

  thereafter to file a supplemental response to Salyer’s Motion to Dismiss. Plaintiffs’ Motion to Take

  Jurisdictional Discovery is substantively unopposed, according to the Notice separately filed by

  Plaintiffs (ECF No. 61), though Salyer urges Plaintiff should need only thirty days to complete

  discovery.
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         The law of this Circuit recognizes a qualified right to jurisdictional discovery. See Am.

  Civil Liberties Union of Fla. v. City of Sarasota, 859 F.3d 1337, 1341 (11th Cir. 2017). The

  qualified right is afforded when 1) the movant timely moves for jurisdictional discovery and 2) the

  information the movant seeks, if it exists, would give rise to jurisdiction. See Posner v. Essex Ins.

  Co., Ltd., 178 F.3d 1209, 1214 n.7 (11th Cir. 1999) (distinguishing cases referring to qualified

  right of jurisdictional discovery because in Posner, plaintiff failed to make any discovery requests

  in the eight months between the time the complaint was filed and the time it was dismissed) (citing

  Eaton v. Dorchester Dev., Inc., 692 F.2d 727, 729-31 (11th Cir. 1982); Gleneagle Ship Mgmt. Co.

  v. Leondakos, 602 So.2d 1282, 1284 (Fla. 1992)); See Also RMS Titanic, Inc. v. Kingsmen

  Creatives, Ltd., 579 F. App’x 779, 790 (11th Cir. 2014) (“Our case law suggests that federal courts

  should order limited jurisdictional discovery where the information plaintiff seeks, if it exists,

  would give rise to jurisdiction.). Plaintiffs’ motion is timely and unopposed. Accordingly, it will

  be granted.

         Though Defendant Salyer has agreed to thirty days for Plaintiffs to take discovery on her

  jurisdictional defense, the undersigned will afford forty-five days in recognition that many

  business and offices are presently strained by remote working environments and conducting

  discovery in this matter may necessitate shifting of those strained resources. Affording the full

  requested forty-five days to Plaintiffs thus anticipates and negates the need for any motion for

  extension of time, so none should be sought.

         It is ORDERED AND ADJUDGED that Plaintiffs’ Motion to Take Jurisdictional

  Discovery (ECF No. 60) is GRANTED. Plaintiffs’ deadline to complete jurisdictional discovery

  upon Defendant Salyer is August 6, 2020. The Parties are expected to cooperate in completion of

  that discovery, including expedited responses to written requests and cooperation in the scheduling



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  and manner of taking deposition, if sought. Plaintiffs’ deadline to file a supplemental memorandum

  in support of their opposition to Salyer’s Motion to Dismiss is August 14, 2020. Plaintiffs’

  memorandum is limited to ten pages in length and shall not raise any issue other than Defendant’s

  jurisdictional defense. Salyer’s Reply thereto is due no later than August 21, 2020. Absent

  unforeseen circumstances and good cause, these deadlines will not be extended.

         DONE and ORDERED in Chambers at Miami, Florida this 24th day of June, 2020.




                                                      LAUREN LOUIS
                                                      UNITED STATES MAGISTRATE JUDGE




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